        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 1 of 18




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MAJOR ENERGY ELECTRIC                          §
 SERVICES, LLC, MAJOR ENERGY                    §
 SERVICES, LLC, RESPOND POWER,                  §
 LLC, NATIONAL GAS & ELECTRIC,                  §
 LLC, and SPARK HOLDCO, LLC,                    §
                                                §         CASE NO. 1:19-cv-10431-NRB
                               Plaintiff,       §
                                                §
                      v.                        §
                                                §
 SAUL HOROWITZ, individually and as             §
 Sellers’ Representative, MARK                  §
 WIEDERMAN, ASHER FRIED,                        §
 MICHAEL BAUMAN, and MARK                       §
 JOSEFOVIC,                                     §
                                                §
                               Defendants.      §

            STIPULATION AND [PROPOSED] CONFIDENTIALITY ORDER

       Plaintiffs Major Energy Electric Services, LLC, Major Energy Services, LLC, Respond

Power, LLC, National Gas & Electric, LLC, and Spark Holdco, LLC (“Plaintiffs”) and Defendants

Saul Horowitz, individually and as Sellers’ Representative, Mark Wiederman, Asher Fried,

Michael Bauman, and Mark Josefovic (“Defendants”) HEREBY STIPULATE AND AGREE, by

and through their undersigned counsel, that this Stipulation and Order (“Order”) sets forth the

agreement between the Parties regarding the confidentiality of certain documents and other

information which may be disclosed or otherwise produced through discovery in the above-

captioned action (the “Action”), and ask that the Court enter same.

I.     PURPOSE, LIMITATIONS, AND SCOPE

       1.      Pursuant to Federal Rule of Civil Procedure 26(c), the following provisions shall

govern the pretrial disclosure and use by the persons subject to this Order—including without

limitation the Parties, their representatives, agents, experts and consultants, all third parties




                                                1
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 2 of 18




providing discovery in this Action, and all other interested persons with actual or constructive

notice of this Order—of all documents, electronically stored information, testimony, and other

information produced during the course of litigation in the Action, including any appeals,

rehearings, remands, trials, reviews, or related mediations or alternative dispute resolution

proceedings.

       2.      Disclosure and discovery activity in this Action are likely to involve production or

disclosure of documents and information that reveal certain confidential, trade secret, proprietary,

commercially sensitive, and/or non-public information for which special protection from public

disclosure and from use for any purpose other than prosecuting or defending this litigation may be

warranted.

       3.      Disclosure and discovery in this Action may also involve documents that are

protected, in whole or in part, from disclosure by the attorney-client privilege, attorney work-

product doctrine, or other applicable privileges or bases for protection.

       4.      The Parties acknowledge that this Stipulated Confidentiality Order does not confer

blanket protections on all disclosures or responses to discovery and that the protection it affords

from public disclosure and use extends only to the limited information or items that are entitled to

confidential treatment under applicable legal principles.

       5.      The protections conferred by this Stipulated Confidentiality Order cover Protected

Material disclosed or produced in discovery in this Action, as well as: (a) any information copied

or extracted from Protected Material; (b) all copies, excerpts, summaries, or compilations of

Protected Material; and (c) any testimony, conversations, or presentations by parties or their

Counsel that might reveal Protected Material. The protections conferred by this Stipulated

Confidentiality Order do not cover the following information: (a) any information that is in the




                                                 2
          Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 3 of 18




public domain at the time of disclosure to a Receiving party or becomes part of the public domain

after its disclosure to a Receiving Party not as a result of a violation of this Order; and (b) any

information obtained by the Receiving Party from a source who obtained the information lawfully

and under no obligation of confidentiality to the Designating Party or otherwise.

         6.    Any use of Protected Material at trial shall be governed by a separate agreement or

order.

II.      DEFINITIONS

         7.    The phrase “Challenging Party” shall refer to a Party or Non-Party that challenges

the designation of information or items as Protected Material under this Stipulated Confidentiality

Order.

         8.    The phrase “CONFIDENTIAL” shall refer to information or items (regardless of

how it is generated, stored or maintained) or items that contain confidential and non-public

development, financial, personnel, or commercial information, or non-public personal

information, or any other information for which a good faith claim of need for protection from

disclosure can be made under the Federal Rules of Civil Procedure or applicable law.

         9.    The phrase “ATTORNEYS’ EYES ONLY – CONFIDENTIAL” shall refer to

extremely sensitive “CONFIDENTIAL” Information or Items (regardless of how it is generated,

stored or maintained) or tangible things that contain or reflect non-public trade secrets or other

current or prospective confidential research, development, commercial, or financial information,

or other highly sensitive data, the disclosure of which to another Party or Non-Party could create

a competitive risk or a substantial risk of serious harm that could not be avoided by less restrictive

means.

         10.   The term “Counsel” shall refer to Outside Counsel and In-House Counsel (as well




                                                  3
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 4 of 18




as their support staff).

        11.     The phrase “Designating Party” shall refer to a Party or Non-Party that designates

information or items that it produces in disclosures or in responses to discovery as

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY – CONFIDENTIAL.”

        12.     The phrase “Discovery Material” shall refer to all documents, materials, items, or

information, regardless of the medium or manner in which generated, stored, or maintained

(including, among other things, testimony, transcripts, and tangible things), that are produced or

generated in disclosures or responses to discovery or otherwise made available to an opposing

party, third party, or the Court in this matter.

        13.     The term “Document” shall be synonymous in meaning and equal in scope to the

usage of this term in Rules 26 and 34 of the Federal Rules of Civil Procedure and Rule 26.3 of the

U.S. District Courts for the Southern and Eastern Districts of New York. The term “Document”

shall include Hard-Copy Documents, Electronic Documents, and Electronically stored information

as defined herein.

        14.     The term “Expert” shall refer to a person with specialized knowledge or experience

in a matter pertinent to the Action who has been formally retained by a Party or its Counsel to

serve as an expert witness or as a consultant in this Action.

        15.     The phrase “In-House Counsel” shall refer to attorneys and their supporting

personnel who are employees of a corporate party to this Action. In-House Counsel does not

include Outside Counsel.

        16.     The term “Non-Party” shall refer to any natural person, partnership, corporation,

association, or other legal entity not named as a Party to this Action.

        17.     The phrase “Outside Counsel” shall refer to attorneys who are not a Party to this




                                                   4
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 5 of 18




Action and who are not employees of a Party to this Action but are retained to represent or advise

a Party to this Action or are affiliated with a law firm which has appeared on behalf of that Party,

and supporting personnel employed by such attorneys or law firm(s), such as attorneys, paralegals,

clerks, secretaries, clerical personnel, in-house copying and mail services, and contract or

temporary personnel engaged by and working under the supervision of the Outside Counsel.

       18.     The term “Party” shall refer to any party to this Action, including all of its officers,

directors, employees, representatives, agents, and support staff.

       19.     The phrase “Producing Party” shall refer to a Designating Party or Non-Party that

produces Discovery Material in this Action. Any Non-Party that produces Discovery Material in

this Action, pursuant to subpoena, Order, or otherwise, shall be deemed a Producing Party for

purposes of this Order. If any Party has an interest in maintaining the confidentiality of Discovery

Material produced by any Non-Party, the Party may designate such Discovery Material as

confidential as if it was a Producing Party pursuant to this Order to the extent that the records, if

produced by the Designating Party, could in good faith be designated confidential.

       20.     The phrase “Professional Vendors” shall refer to persons or entities that provide

litigation support services (e.g., photocopying, videotaping, translating, preparing exhibits or

demonstrations, and organizing, storing, or retrieving data in any form or medium) and their

employees and subcontractors, but not those persons or entities that provide in-house litigation

support services within the Outside Counsel’s law firm(s).

       21.     The phrase “Protected Material” shall refer to any Discovery Material that is

designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY – CONFIDENTIAL”

pursuant to the terms of this Stipulated Confidentiality Order, and also any information copied or

extracted therefrom, as well as copies, excerpts, summaries, or compilations thereof to the extent




                                                  5
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 6 of 18




that such excerpts, summaries or compilations contain or reflect the same, or substantially the

same, protected information that was the basis for the designation of the Discovery Material as

Protected Material.

       22.     The phrase “Receiving Party” shall refer to a Party that receives Discovery Material

from a Producing Party.

       23.     The phrase “Non-Party Witness” shall refer to any witness who is not a Party, not

a current employee of a Party, and not an Expert retained by a Party in this case.

III.   DESIGNATING PROTECTED MATERIAL

       24.     All Discovery Material shall be used solely for the purposes of prosecuting and/or

defending this Action or any appeal arising therefrom.

       25.     Except as otherwise provided in this Stipulated Confidentiality Order, or as

otherwise stipulated or ordered, Discovery Material that qualifies for protection under this

Stipulated Confidentiality Order shall be clearly so designated before the material is disclosed or

produced.

       26.     If at any time prior to the trial in this Action, a Producing Party realizes that some

portion[s] of Discovery Material that that Producing Party previously produced should be

designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY – CONFIDENTIAL,” such

Producing Party may so designate by so apprising all Parties in writing, and such designated

portion[s] of the Discovery Material will thereafter be treated as “CONFIDENTIAL” or

“ATTORNEYS’ EYES ONLY – CONFIDENTIAL” under the terms of this Order. Upon written

correction of a designation, the Receiving Party must assure that the material is treated in

accordance with the provisions of this Stipulated Confidentiality Order.

       27.     Designation in conformity with this Stipulated Confidentiality Order requires:

               (a)     for information in documentary form (e.g., paper or electronic documents,



                                                 6
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 7 of 18




but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party   affix     the   legend     “CONFIDENTIAL”          or   “ATTORNEYS’      EYES     ONLY     –

CONFIDENTIAL” to each page that contains Protected Material.

        A Party or Non-Party that elects to make original documents or materials available for

inspection before production need not designate them for protection until after the inspecting Party

has indicated which material it would like copied and produced. During the inspection and before

the designation, all of the material made available for such inspection shall be deemed

“ATTORNEYS’ EYES ONLY – CONFIDENTIAL.” After the inspecting Party has identified the

documents it wants copied and produced, the Producing Party will determine which documents,

or portions thereof, qualify for protection under this Stipulated Confidentiality Order. Then, before

producing the specified documents, the Producing Party must affix the appropriate legend to each

page that contains or constitutes Protected Material.

                  (b)       for testimony given in deposition, that unless a shortened time period is

requested as set forth below, within sixty (60) days of receipt of the final transcript, the witness,

his/her Counsel, or any other Party may designate all or portions of the transcript

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY – CONFIDENTIAL.” If only a portion of

the transcript will be designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY –

CONFIDENTIAL,” then the witness, his/her Counsel or any other Party shall list on a separate

piece of paper the numbers and lines of the pages of the transcript containing the designated

Protected Material and serve the same on Outside Counsel. Pending such designation, the entire

transcript,     including     exhibits,   shall   be   deemed   “ATTORNEYS’      EYES     ONLY     –

CONFIDENTIAL.” If no designation is made within sixty (60) days after receipt of the transcript,

the transcript shall be considered not to contain any Protected Material. A Party may reasonably




                                                       7
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 8 of 18




request a shortening of the time period within which a Protected Material designation for a

transcript must be made for the purpose of conducting effective discovery or preparation, and

consent to such a request shall not be unreasonably withheld provided the modified timeframe

requested is reasonable. In the event of a dispute as to a request for a shortened time period, the

Parties shall first try to dispose of such dispute in good faith on an informal basis. If the dispute

cannot be resolved within five (5) business days, the Party requesting the shortened time period

may request appropriate relief from the Court.

       Alternatively, the Designating Party may designate testimony or exhibits (or portions

thereof) by advising the court reporter and all Parties at the time of the proceeding of the applicable

designation.

       If any portion of a videotaped proceeding is designated pursuant to this section, the

electronic media shall be labeled with the appropriate legend.

               (c)     for information produced in some form other than documentary and for any

other tangible items, that the Producing Party affix the appropriate designation in a prominent

place on the exterior of the container or containers in which the information or item that contains

or constitutes Protected Material is stored.

               (d)     The Parties agree to work together in good faith to protect the

confidentiality of materials or information that may be disclosed in pretrial motion practice or

hearings, and to seek such relief from the Court as is appropriate and necessary to afford such

materials or information the appropriate level of protection.

IV.    CHALLENGING PROTECTED MATERIAL DESIGNATIONS

       28.     Any Party or Non-Party may challenge a designation as Protected Material at any

time. A Party does not waive its right to challenge a confidentiality designation by electing not to

mount a challenge promptly after the original designation is disclosed. Nothing in this Stipulated



                                                  8
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 9 of 18




Confidentiality Order shall prevent a Receiving Party from contending that any or all Discovery

Material designated “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY – CONFIDENTIAL”

has been improperly designated at any time.

       29.     Disputes concerning the designation of “CONFIDENTIAL” or “ATTORNEYS’

EYES ONLY – CONFIDENTIAL” shall be handled as follows:

               a.      Meet and Confer. In the event of a challenge to a designation, Outside

Counsel for the Challenging Party shall notify, in writing, Outside Counsel for the Producing Party

(or if the Producing Party is a Non-Party, the representative of or counsel for the Producing Party

who made the production) of the nature of the challenge. The Challenging Party and the Producing

Party shall meet and confer and make a good faith effort to resolve the dispute. In conferring, the

Challenging Party must explain the basis for its belief that the confidentiality designation was not

proper and must give the Designating Party an opportunity to review the designated material, to

reconsider the circumstances, and, if no change in designation is offered, to explain the basis for

the chosen designation.

               b.      Application for Judicial Intervention with Respect to Confidentiality

Designations. In the event that the parties are unable to resolve the dispute within ten (10) days,

the Producing Party may apply to the Court for a determination as to whether it appropriately

designated the document or tangible thing as “CONFIDENTIAL” or “ATTORNEYS’ EYES

ONLY – CONFIDENTIAL.” If the Producing Party files such an application with the Court, the

document or tangible thing at issue will be treated as designated by the Producing Party until the

Court has rendered its determination.

V.     ACCESS TO AND USE OF PROTECTED MATERIAL

       30.     Permissible Disclosure of “CONFIDENTIAL” Information or Items:                Unless

otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving Party



                                                 9
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 10 of 18




may disclose any information or item designated “CONFIDENTIAL” only to:

                a.     the Receiving Party’s Counsel in this Action;

                b.     the Parties, including their current employees, provided that disclosure is

reasonably necessary for handling any aspect of this litigation;

                c.     officers, directors, employees, In-House Counsel, and clerical and support

personnel working with or under the supervision of In-House Counsel of the Receiving Party;

                d.     Experts (as defined in this Stipulated Confidentiality Order) of the

Receiving Party to whom disclosure is reasonably necessary for this litigation and who have signed

the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                e.     Any witness in the action who has signed the “Acknowledgement and

Agreement to be Bound” (Exhibit A), provided that (1) the witness is identified or referred to

anywhere in the document text or metadata; (2) the witness’s name is contained in the document

text or metadata; or (3) the witness is a former employee of a party and the document was created

during the time period that the witness was employed by the party, and the document contains or

references information that reasonably would have been known or available to the witness while

he/she was employed by the party;

                f.     the Court and its personnel;

                g.     court reporters and their staff;

                h.     any mediator appointed by the Court or agreed to by the parties to mediate

this litigation; and

                i.     professional jury or trial consultants, mock jurors, and Professional Vendors

to whom disclosure is reasonably necessary for this litigation and who have signed the




                                                 10
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 11 of 18




“Acknowledgment and Agreement to Be Bound” (Exhibit A).

       31.     Permissible Disclosure of “ATTORNEYS’ EYES ONLY – CONFIDENTIAL”

Information or Items: Unless otherwise ordered by the Court or permitted in writing by the

Designating Party, a Receiving Party may disclose any information or item designated

“ATTORNEYS’ EYES ONLY – CONFIDENTIAL” only to:

               a.      the Receiving Party’s Counsel in this Action;

               b.      Experts (as defined in this Stipulated Confidentiality Order) of the

Receiving Party to whom disclosure is reasonably necessary for this litigation and who have signed

the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

               c.      any witness in the action who has signed the “Acknowledgement and

Agreement to be Bound” (Exhibit A) or who is otherwise ordered by the Court, provided that (1)

the witness is a current employee of a party; (2) the witness is a former employee of a party, and

the document was created during the time period that the witness was employed by the party, and

the document contains or references information that clearly demonstrates that all or substantially

all of the contents of the documents were previously known to the witness while he/she was

employed by the party; or (3) the witness’s name is referred to or contained in the document text

or metadata, but if the witness is not otherwise qualified by the categories (1) and (2) the Receiving

Party shall provide the Designating Party with advance notice within three (3) business days prior

to any disclosure to the witness and the Designating Party shall notify the Receiving Party of any

objection to such disclosure to the witness at least (1) business day prior to the contemplated




                                                 11
         Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 12 of 18




disclosure;

                   d.     the Court and its personnel;

                   e.     court reporters and their staff;

                   f.     any mediator appointed by the Court or agreed to by the parties to mediate

this litigation;

                   g.     the author or recipient of a document containing the information; and

                   h.     professional jury or trial consultants, mock jurors, and Professional Vendors

to whom disclosure is reasonably necessary for this Action and who have signed the

“Acknowledgment and Agreement to Be Bound” (Exhibit A).

        32.        Deposition, Hearing, and Trial Testimony: Witnesses may be deposed or examined

at a hearing or trial regarding information designated “CONFIDENTIAL” or “ATTORNEYS’

EYES ONLY – CONFIDENTIAL” as detailed above. In the event any “CONFIDENTIAL”

information is to be used or discussed in a deposition, hearing, or trial, any Party or the deponent

shall have the right to exclude from attendance during such portions of the deposition, hearing or

trial in which “CONFIDENTIAL” information is disclosed or revealed, any person other than the

deponent/witness, counsel of record for the Parties, the court reporter, the videographer, and the

persons defined in Paragraph 30.               In the event “ATTORNEYS’ EYES ONLY –

CONFIDENTIAL” is disclosed, revealed, or discussed in a deposition, hearing, or trial, any Party

or the deponent/witness shall have the right to exclude from attendance during such portions of

the deposition, hearing, or trial in which “ATTORNEYS’ EYES ONLY – CONFIDENTIAL”

information is disclosed or revealed, any person other than the deponent/witness, counsel of record

for the Parties, the court reporter, the videographer, and the persons defined in Paragraph 31.

        33.        Protected Material Subpoenaed or Ordered Produced in Other Litigation: If a Party




                                                    12
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 13 of 18




is served with a subpoena or a court order issued in other litigation that compels disclosure of any

information or items designated in this Action as “CONFIDENTIAL” or “ATTORNEYS’ EYES

ONLY – CONFIDENTIAL” that Party must:

               a.      within seven (7) days notify in writing the Designating Party.         Such

notification shall include a copy of the subpoena or court order;

               b.      promptly notify in writing the party who caused the subpoena or order to

issue in the other litigation that some or all of the material covered by the subpoena or order is

subject to this Stipulated Confidentiality Order. Such notification shall include a copy of this

Stipulated Confidentiality Order; and

               c.      cooperate with respect to all reasonable procedures sought to be pursued by

the Designating Party whose Protected Material may be affected.

If the Designating Party timely seeks a protective order, the Party served with the subpoena or

court order shall not produce any information designated in this Action as “CONFIDENTIAL” or

“ATTORNEYS’ EYES ONLY – CONFIDENTIAL” before a determination by the court from

which the subpoena or order issued, unless the Party has obtained the Designating Party’s

permission. The Designating Party shall bear the burden and expense of seeking protection in that

court of its Protected Material. Nothing in these provisions should be construed as authorizing or

encouraging a Receiving Party in this Action to disobey a lawful directive from another court.

VI.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       34.     All persons who have access to Discovery Material that has been designated as

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY – CONFIDENTIAL” shall take all due

precautions to prevent the unauthorized or inadvertent disclosure of such material.

       35.     If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

Protected Material to any person or in any circumstance not authorized under this Stipulated



                                                13
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 14 of 18




Confidentiality Order, the Receiving Party must immediately: (a) notify in writing the Designating

Party of the unauthorized disclosures; (b) use its best efforts to retrieve all unauthorized copies of

the Protected Material; (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Stipulated Confidentiality Order; (d) request such persons to destroy

all copies of the Protected Material; and (e) request such person or persons to execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

VII.   INADVERTENT DISCLOSURE OF PRIVILEGED OR OTHERWISE
       PROTECTED MATERIAL

       36.     The inadvertent or unintentional disclosure by the Producing Party of information

subject to any claim of privilege or other protection, including, but not limited to, the attorney-

client privilege or work-product doctrine, regardless of whether the information was so designated

at the time of disclosure, shall not be deemed a waiver in whole or in part of the claim of privilege

or other protection. The inadvertent disclosure of any information subject to any privilege or

otherwise protected from disclosure shall not be deemed a waiver as to other documents,

testimony, or evidence, and shall not be used by the Receiving Party in any fashion whatsoever.

       37.     A Producing Party which seeks the return of documents under this section may

request the return of a particular document or class of documents which should have been withheld

on the basis of the privilege or other protection. Upon receipt of such a request for return, the

Receiving Party must take reasonable steps to locate and segregate the documents (and all copies

thereof) and either (i) return them, or (ii) destroy them and provide confirmation of same, within

seven (7) days. All images of withheld privileged information and any notes or communications

reflecting the content of such documents shall be destroyed at the same time as the document is

returned. Any such documents shall not thereafter be used by the Receiving Party for any purpose,

unless and until the documents are adjudicated to be non-privileged. This provision shall be




                                                 14
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 15 of 18




interpreted to provide the maximum protection allowed by Federal Rule of Evidence 502(d).

       38.     The return or destruction of a document over which the Producing Party has

asserted a claim of privilege or protection as set forth above shall be without prejudice to the

Receiving Party’s right, within ten (10) days of the return or destruction, to seek an order from the

Court directing the production of the document on the ground that the claimed privilege or

protection is invalid or inapplicable; provided, however, that mere production of the document or

information in the course of this Action shall not constitute grounds for asserting waiver of the

privilege or protection.

       39.     Nothing in this Stipulated Confidentiality Order shall be construed as a waiver by

any Party of its right to object to the subject matter of any discovery request made in this action.

The execution of this Stipulated Confidentiality Order shall not be construed as an agreement by

any Party to produce any document or supply any information, and shall not constitute an

admission that any designated material is relevant in any way to the issues raised in the Action or

as a waiver of any privilege with respect thereto.

       40.     Neither the provisions of this Stipulated Confidentiality Order nor any disclosure

by a Party pursuant to this Stipulated Confidentiality Order shall constitute a waiver at any time,

or in any litigation relating to the matters referenced herein or otherwise, of any attorney/client

privilege, work product doctrine, or any other privilege offered by the Federal Rules of Evidence

or the Federal Rules of Civil Procedure.

VIII. FILING UNDER SEAL

       41.      All Protected Material filed with the Court, and all portions of pleadings, motions,

or other papers filed with the Court that disclose such Protected Material, shall be filed under seal

with the Clerk of Court and kept under seal until further order of the Court. The Parties will use

their best efforts to minimize such sealing. In any event, any Party filing a motion or any other



                                                 15
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 16 of 18




papers with the Court under seal shall also publicly file a redacted copy of same, via the Court’s

Electronic Case Filing system, that redacts only the Protected Material itself, and text that in any

material way reveals the Protected Material.

IX.    NON-TERMINATION

       42.     Even after final disposition of this Action, the confidentiality obligations imposed

by this Stipulated Confidentiality Order shall remain in effect until a Designating Party agrees

otherwise in writing or a court order otherwise directs. Final disposition shall be deemed to be the

later of (a) dismissal of all claims and defenses in this Action, with or without prejudice; and (b)

final judgment herein after the completion and exhaustion of all appeals, rehearings, remands,

trials, or reviews of this Action, including the time limits for filing any motions or applications for

extension of time pursuant to applicable law.

X.     FINAL DISPOSITION

       43.     Within sixty (60) days after the final disposition of this Action, as set forth in

Section VIII (NON-TERMINATION), each Receiving Party must return all Protected Material to

the Producing Party or destroy such material. As used in this subdivision, “all Protected Material”

includes all copies, abstracts, compilations, summaries, and any other format reproducing or

capturing any of the Protected Material. The Receiving Party must submit a written certification

to the Producing Party (and, if not the same person or entity, to the Designating Party) by the 60-

day deadline that: (a) identifies (by category, where appropriate) all the Protected Material that

was returned or destroyed; and (b) affirms that the Receiving Party has not retained any copies,

abstracts, compilations, summaries or any other format reproducing or capturing any of the

Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy

of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

correspondence, deposition and trial exhibits, Expert reports, attorney work-product, and



                                                  16
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 17 of 18




consultant and Expert work-product, even if such materials contain Protected Material. Any such

archival copies that contain or constitute Protected Material remain subject to this Stipulated

Confidentiality Order, as set forth in Section VIII.


ACCEPTED AND AGREED TO this 8th day of January, 2021.

 Respectfully submitted,

 /s/ Troy S. Brown                                     /s/ Israel Dahan
 Troy S. Brown                                         Israel Dahan
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 michelle.pector@morganlewis.com

 Counsel for Plaintiffs




APPROVED AND SO ORDERED this11
                             ___           January
                               th day of ________________, 2021.


                                                                __________________________
                                                                Hon. Naomi Reice Buchwald




                                                 17
        Case 1:19-cv-10431-NRB Document 40 Filed 01/11/21 Page 18 of 18




                                             EXHIBIT A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MAJOR ENERGY ELECTRIC                            §
 SERVICES, LLC, MAJOR ENERGY                      §
 SERVICES, LLC, RESPOND POWER,                    §
 LLC, NATIONAL GAS & ELECTRIC,                    §
 LLC, and SPARK HOLDCO, LLC,                      §
                                                  §         CASE NO. 1:19-cv-10431-NRB
                                Plaintiff,
                                                  §
                                                  §
                      v.
                                                  §
                                                  §
 SAUL HOROWITZ, individually and as
                                                  §
 Sellers’ Representative, MARK
                                                  §
 WIEDERMAN, ASHER FRIED,
                                                  §
 MICHAEL BAUMAN, and MARK
                                                  §
 JOSEFOVIC,
                                                  §
                                Defendants.       §

              ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND

        I, ______________________________ , of _____________________________ declare
under penalty of perjury that I have read in its entirety and understand the Stipulation and
Confidentiality Order that was issued by the U.S. District Court for the Southern District of New
York in the above-captioned action. I agree to comply with and to be bound by all terms of this
Stipulation and Confidentiality Order, and I understand and acknowledge that failure to so comply
could expose me to sanctions and punishment in the nature of contempt. I solemnly promise that
I will not disclose in any manner any information or item that is subject to this Stipulated
Confidentiality Order to any person or entity except in strict compliance with the provisions of this
Order.
        I further agree to submit to the jurisdiction of the U.S. District Court for the Southern
District of New York for the purpose of enforcing the terms of the Stipulation and Confidentiality
Order, even if such enforcement proceedings occur after termination of this action.

Date: ________________________

City and State where sworn and signed: ______________________________________________

Printed name: __________________________________________________________________

Signature: _____________________________________________________________________
